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CLERK US DISTRICT COURT
DISTRICT OF NEVADA

 

 

DEPUTY

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

UNITED STATES OF AMERICA,
Plaintiff,
¥.

JOSHUA A. MARTINEZ,

Defendant.

 

 

THE GRAND JURY CHARGES:

CRIMINAL INDICTMENT

Case No. 2:21-cr- 214

VIOLATIONS:

18 U.S.C. §§ 922(g) and 924(a)(2) — Felon
in Possession of Firearm (Counts 1 and 2)

18 U.S.C. §§ 922(g) and 924(a)(2) — Felon
in Possession of Ammunition (Counts 3
and. 4)

COUNT ONE
Felon in Possession of a Firearm
(18 U.S.C. §§ 922(2\(1), 924(a)(2))

Between in or about December 2020, to on or about February 19, 2021, in the State

and Federal District of Nevada,

 
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JOSHUA A. MARTINEZ,
defendant herein, knowing he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, that is, Attempt Carrying a Concealed
Weapon, on or about March 6, 2021, in the Third Judicial District Court, Clark County,
Nevada in case number C-17-326611-1, did knowingly possess a firearm, that is a Ruger
.45 caliber handgun, Serial No. 661-64183, said possession being in and effecting interstate
commerce and said firearm having been shipped and transported in interstate commerce,
all in violation of Title 18, United States Code, Sections 922(g) and 924(a)(2).
COUNT TWO
Felon in Possession of a Firearm
(18 U.S.C. §§ 922(g)(1), 924(a)(2))

Between in or about December 2020, to on or about February 19, 2021, in the State

and Federal District of Nevada,
JOSHUA A. MARTINEZ,

defendant herein, knowing he had previously having been convicted of a crime punishable
by imprisonment for a term exceeding one year that is, Attempt Carrying a Concealed
Weapon, on or about March 6, 2021, in the Third Judicial District Court, Clark County,
Nevada in case number C-17-326611-1, did knowingly possess a firearm, that is a Century
Arms AK-47 type rifle, Serial No. RAS470226873, said possession being in and effecting
interstate commerce and said firearm having been shipped and transported in interstate

commerce, all in violation of Title 18, United States Code, Sections 922(g) and 924(a}{(2).

 
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COUNT THREE
Felon in Possession of Ammunition
(18 U.S.C. §§ 922(g)(1), 924{a)(2))
On or about February 19, 2021, in the State and Federal District of Nevada,
JOSHUA A. MARTINEZ,
defendant herein, knowing he had previously having been convicted of a crime punishable
by imprisonment for a term exceeding one year, that is, Attempt Carrying a Concealed
Weapon, on or about March 6, 2021, in the Third Judicial District Court, Clark County,
Nevada in case number C-17-326611-1, did knowingly possess ammunition, that is a
approximately 10 rounds of .45 caliber ammunition, said possession being in and effecting

interstate commerce and said ammunition having been shipped and transported in

interstate commerce, all in violation of Title 18, United States Code, Sections 922(g) and

924(a)(2).

COUNT FOUR
Felon in Possession of Ammunition
(18 U.S.C. §§ 922(s)(1), 924(a)(2))
On or about February 19, 2021, in the State and Federal District of Nevada,
JOSHUA A. MARTINEZ,

defendant herein, knowing he had previously having been convicted of a crime punishable
by imprisonment for a term exceeding one year, that is, Attempt Carrying a Concealed
Weapon, on or about March 6, 2021, in the Third Judicial District Court, Clark County,
Nevada in case number C-17-326611-1, did knowingly possess ammunition, that is, up to
approximately 150 rounds of .223 caliber ammunition, said possession being in and

effecting interstate commerce and said ammunition having been shipped and transported

 
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in interstate commerce, all in violation of Title 18, United States Code, Sections 922(g)
and 924(a)(2).
FORFEITURE ALLEGATION

Felon in Possession of a Firearm and Felon in Possession of Ammunition

1. The allegations of Counts One through Four of this Criminal Indictment are
hereby realleged and incorporated herein by reference for the purpose of alleging forfeiture
pursuant to 18 U.S.C. § 924(d)(1) with 28 U.S.C. § 2461(c).

2. Upon conviction of any of the felony offenses charged in Counts One through
Four of this Criminal Indictment,

JOSHUA A. MARTINEZ,

defendant herein, shall forfeit to the United States of America, any firearm or ammunition
involved in or used in any knowing violation 18 U.S.C. § 922(g)(1):

1, a Ruger .45 caliber handgun, Serial No. 661-64183;

2. a Century Arms AK-47 type rifle, Serial No. RAS470226873;

3. 10 rounds of .45 caliber ammunition; and

4. approximately 130 rounds of .223 ammunition.

All pursuant to 18 U.S.C. § 922(g)(1) and 18 U.S.C, § 924(d)(1) with 28 U.S.C.

§ 2461(c).

 
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DATED: thie) day of Sx

A TRUE BILL:

/s/ Ne

FOREPERSON OF THE GRAND JURY

 

CHRISTOPHER CHIOU
Acting United $tates Attorney

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DANIEL R.'§CHIESS
Assistant United States Attorney

 
